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                                                                                   Judge Franklin D. Burgess
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                                       UNITED STATES DISTRICT COURT
6                                     WESTERN DISTRICT OF WASHINGTON
                                                AT TACOMA
7

       UNITED STATES OF AMERICA,                             )
8                                                            )        No.    CR06-5528FDB
                                 Plaintiff,                  )
9                                                            )
                          vs.                                )        ORDER ALLOWING ADDITIONAL
10                                                           )        TIME TO FILE RESPONSE TO
                                                             )        MOTIONS IN LIMINE
11     TIGRA ROBERTSON,                                      )
                                                             )
12                               Defendant.                  )
                                                             )
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14
                 This Court has considered the Defendant’s Motion to Allow Additional Time to File

15     Response to Motions in Limine. The Court finds the Defendant’s counsel needs additional time to

16
       respond.
17
                 IT IS THEREFORE ORDERED that the defendant has until January 11, 2007 to file their
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       responses.
19


                 DATED this 4th day of January 2007.
20



21
                                                                 /s/ Franklin D Burgess                  _

22                                                           United States District Judge
23
                                                             Judge Franklin D. Burgess
24
       Presented by:
25
       LAW OFFICES OF MICHAEL SCHWARTZ, Inc.
26
       By: ___/s/_______________________________
          Michael E. Schwartz, WSBA #21824
27
          Attorney for Defendant
28

                                                                                     Law Offices of Michael Schwartz, inc.
                                                                                                524 Tacoma Avenue South
                                                                                                       Tacoma, WA 98402
     ORDER RE:   EXTENSION - 1                                                           (253)272-7161 fax (253)272-7178
